UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
RUPERT GREEN,                                                  :

                          Plaintiff,                         :     REPORT AND
                                                                   RECOMMENDATION
                                                             :
        -v.-
                                                             :     18 Civ. 10817 (AT) (GWG)
THE DEPARTMENT OF EDUCATION OF THE
CITY OF NEW YORK and CARMEN FARINÞA, :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        Plaintiff Rupert Green, a former teacher for defendant Department of Education of the

City of New York (“DOE”) who was fired following a hearing in 2016, brings suit against DOE

and former DOE Chancellor Carmen FarinÞa alleging violations of his First, Fourth, Fifth, and

Fourteenth Amendment rights. Green also brings claims under state law. Defendants have

moved to dismiss the complaint.1 For the following reasons, defendants’ motion should be

granted.




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          See Notice of Motion to Dismiss, filed Feb. 4, 2019 (Docket # 14); Defendants’
Memorandum of Law in Support of Their Motion to Dismiss the Complaint, filed Feb. 4, 2019
(Docket # 15) (“Def. Mem.”); Declaration of Assistant Corporation Counsel Shaina Wood in
Support of Defendant’s Motion to Dismiss the Complaint, filed Feb. 4, 2019 (Docket # 16)
(“Wood Decl.”); Notice of Motion to Dismiss and Local Rule 12.1 Notice to Pro Se Plaintiff,
filed Feb. 4, 2019 (Docket # 17); Plaintiff’s Opposition to Defendant’s Motion to Dismiss, filed
Apr. 11, 2019 (Docket # 22) (“Pl. Opp.”); Declaration in Opposition to Defendants’ Motion to
Dismiss, filed Apr. 11, 2019 (Docket # 23); Declaration of Assistant Corporation Counsel Shaina
Wood in Reply to Plaintiff’s Opposition to Defendants’ Motion to Dismiss the Complaint, filed
May 6, 2019 (Docket # 27).

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I. BACKGROUND

       A. Allegations in the Complaint

       For purposes of this motion we assume the truth of the allegations in the complaint.

       From approximately February 2001 through April 2016, Green was employed as a

tenured teacher with the DOE, specializing in teaching computer technology and Career

Technical Education (“CTE”). Complaint, filed Nov. 19, 2018 (Docket # 1) (“Compl.”), ¶ 2.

Throughout his employment with the DOE, Green taught at the School of Cooperative Technical

Education (“Coop Tech”), within District 79, which is a city-wide school district for non-

traditional students who are preparing for General Educational Development tests. Id. Coop

Tech is a multi-site high school, and Green was assigned to a location at John Adams High

School. Id. During his tenure at Coop Tech, Green repeatedly used the school’s email system to

express his concerns regarding his belief that the secretary to the school’s principal and a teacher

at the school, who were married, “gave favors to each other yet had not . . . requested a waiver

from the Conflict of Interest Board,” in violation of Chancellor’s Regulation C-100, Section IV.

Id. ¶ 10. He also used the email system to express his concerns regarding “the underfunding and

negligence by the DOE of the CTE vocational programs in NYC.” Id.

       On or about April 22, 2016, Green was charged with nine specifications of misconduct

pursuant to N.Y. Educ. Law § 3020-a with sending “improper, harassing,” emails to staff. Id. at

2, 11 & ¶ 19. He was served with a document titled “Notice of Determination of Probable Cause

on Education Law § 3020-a,” signed by Corey Prober, the principal of CTE at John Adams High

School. Id. ¶ 19. The notice did not contain a date for any Executive Session held to determine

probable cause. Id. A hearing was subsequently held before arbitrator Leah Murphy. See id. at

2, 12 & ¶¶ 21-25. Green was represented by counsel at the hearing, see id. ¶ 21, who requested a

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stay of the hearing on account of a pending investigation by the Department of Justice Office of

Civil Rights initiated in response to a complaint Green had filed. See id. ¶¶ 18 (second), 20-21.2

Counsel also filed a Motion to Dismiss for Lack of Subject Matter Jurisdiction. See id. ¶¶ 22-23.

Murphy denied Green’s motion to dismiss. Id. ¶ 24. During the hearing, “Murphy would not

allow [Green] any access to his emails in his DOE email address.” Id. ¶ 25. In a written

decision dated December 9, 2016, Murphy substantiated Specifications 1-6 brought against

Green, but dismissed Specifications 7-9, and recommended his termination. Id. ¶ 25. Green was

ultimately terminated from his employment. See id. at 1.

       The complaint alleges that defendants violated Green’s First, Fourth, Fifth, and

Fourteenth Amendments rights, and his rights under the New York State constitution. Id. ¶¶ 34-

39, 43-45, 54-57. The complaint also brings state law claims for intentional and negligent

infliction of emotional distress, harassment, and tortious interference with contract, id. ¶¶ 40-42,3

as well as a claim alleging that defendants violated N.Y. Civ. Serv. Law § 75-b(1)(b), id. ¶¶ 46-

53.

       B. Procedural History Prior to the Filing of the Complaint

       The background of this lawsuit is reflected both in allegations in the complaint as well as

the opinion by Justice Arthur F. Engoron deciding an action brought by Green under Article 75

of the New York Civil Practice Law and Rules to challenge his dismissal following the section


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       The complaint contains two paragraphs labeled “18” and two paragraphs labeled “19.”
See Compl. at 11. We identify them as either the “first” or “second” of these paragraphs.
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          Green purports to bring a claim pursuant to “Section 767 of the Restatement (Second)
of Contracts.” See Compl. at 17. The Restatement (Second) of Contracts does not contain a
“section 767.” However, section 767 of the Restatement (Second) of Torts pertains to tortious
interference with contract. Accordingly, we construe the complaint as alleging a state law claim
for tortious interference with contract.

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3020-a hearing, see Green v. N.Y.C. Bd./Dept. of Educ., No. 102017/2016 (N.Y. Sup. Ct. Feb,

20, 2018) (“Art. 75 Dec.”), which Green has annexed to his opposition memorandum.

       As detailed in the Article 75 decision, on November 5, 2015, the assistant principal of

Coop Tech filed a complaint with the DOE’s Special Commissioner of Investigation (“SCI”)

against Green alleging that he violated the DOE’s email and internet use policy. Art. 75 Dec. at

1. Green alleged that he was not informed of the outcome of the complaint until February 9,

2016, when Green met with Principal Corey Prober. See id. During this meeting, Prober

provided Green with a copy of the school handbook containing the email and internet use policy.

See id. On January 28, 2016, Prober filed a second complaint with the SCI alleging the same

misconduct. Id. Following an investigation, the SCI investigator substantiated the two

complaints brought against Green. Id. The DOE subsequently issued nine formal charges

against Green, which are detailed in the Article 75 decision. See id. at 1-2.

       Hearing Officer Leah L. Murphy, Esq., was assigned as the arbitrator of Green’s

disciplinary proceedings. Id. at 2. She presided over a pre-hearing conference, an evidentiary

hearing, and the parties’ closing arguments. Id. Both parties were represented by counsel at the

evidentiary hearing, which took place over twelve days during 2016, and involved the testimony

of 17 witnesses and the review of 42 documentary exhibits. Id. Also, all 116 of Green’s emails

which were at issue were reviewed. Id. Murphy concluded that the DOE had proven, by a

preponderance of the evidence, Specifications 1-6 brought against Green, but that it had failed to

prove Specifications 7-9. Id. at 3. Based on the findings of guilt with respect to six of the

specifications, Murphy found that termination was an appropriate penalty. Id.

       Green subsequently brought a proceeding in New York State Supreme Court, pursuant to

C.P.L.R. § 7511 (“Article 75”), seeking to vacate the arbitration award. Article 75 provides that

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an arbitration award may be modified or vacated on the application of a party to the arbitration,

and lists several grounds upon which such modification or vacatur may be made, including

corruption, partiality of an arbitrator appointed as neutral, and failure to follow procedure.

C.P.L.R. § 7511(b); see also City Sch. Dist. of City of New York v. McGraham, 17 N.Y.3d 917

(2011) ( where “parties are subject to compulsory arbitration, the award must satisfy an

additional layer of judicial scrutiny — it must have evidentiary support and cannot be arbitrary

and capricious) (citation and punctuation omitted). Defendants moved pursuant to N.Y.

C.P.L.R. § 3211(a)(7) to dismiss Green’s Article 75 proceeding for failure to state a cause of

action. On February 20, 2018, Justice Engoron of New York State Supreme Court granted

defendants’ cross-motion to dismiss the proceeding.

       In the Article 75 decision, Justice Engoron held that Green “failed to establish that the

[arbitration] Award was arbitrary or capricious, or otherwise improper,” as it was “based on

overwhelming evidentiary support.” Art. 75 Dec. at 3. The court further held that Green’s

arguments that “Specifications 4-6 should be vacated because there is no evidence that he was

insubordinate is unavailing,” as the hearing officer’s decision was based on the fact that Green

“continued to send inappropriate emails despite being warned of his misconduct on multiple

occasions.” Id. at 4. The court also considered and rejected Green’s argument that the award

should be overturned because disciplinary charges were “brought against him in an effort to

retaliate against him for ‘exposing corruption and racism within the School’ and that he should

be afforded ‘whistleblower’ status.” Id.




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II. GOVERNING LAW

       A. Standard of Review Under Fed. R. Civ. P. 12(b)(6)

       A defendant may move to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6)

where the plaintiff “fail[s] to state a claim upon which relief can be granted.” To survive such a

motion, a complaint must contain sufficient factual matter, “accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). As the Supreme Court noted in Iqbal,

       [a] claim has facial plausibility when the plaintiff pleads factual content that
       allows the court to draw the reasonable inference that the defendant is liable for
       the misconduct alleged. . . . The plausibility standard is not akin to a “probability
       requirement,” but it asks for more than a sheer possibility that a defendant has
       acted unlawfully. . . . Where a complaint pleads facts that are “merely consistent
       with” a defendant’s liability, it “stops short of the line between possibility and
       plausibility of entitlement to relief.”

Id. (citations omitted). “[A] plaintiff’s obligation to provide the grounds of his entitlement to

relief requires more than labels and conclusions, and a formulaic recitation of the elements of a

cause of action will not do.” Twombly, 550 U.S. at 555 (quotation marks, alternation, and

citation omitted). Thus, “[w]hile legal conclusions can provide the framework of a complaint,

they must be supported by factual allegations.” Iqbal, 556 U.S. at 679. “[W]here the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct,” a

complaint is insufficient under Federal Rule of Civil Procedure 8(a)(2) because it has merely

“alleged — but it has not ‘shown’ — ‘that the pleader is entitled to relief.’” Id. at 679 (alteration

omitted) (quoting Fed. R. Civ. P. 8(a)(2)).

       Additionally, on a motion to dismiss for failure to state a claim, a court’s

       consideration is limited to the factual allegations in [the complaint], which are
       accepted as true, to documents attached to the complaint as an exhibit or
       incorporated in it by reference, to matters of which judicial notice may be taken,

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       or to documents either in plaintiffs’ possession or of which plaintiffs had
       knowledge and relied on in bringing suit.

Brass v. Am. Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993) (citing Cortec Indus., Inc. v.

Sum Holding L.P., 949 F.2d 42, 47-48 (2d Cir. 1991)); accord Halebian v. Berv, 644 F.3d 122,

130 n.7 (2d Cir. 2011).

       A pro se litigant is “‘entitled to special solicitude’” and his pleadings should be read “‘to

raise the strongest arguments that they suggest.’” Fowlkes v. Ironworkers Local 40, 790 F.3d

378, 387 (2d Cir. 2015) (quoting Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 477 (2d

Cir. 2006)). Accordingly, “‘[a] document filed pro se is to be liberally construed and a pro se

complaint, however inartfully pleaded, must be held to less stringent standards than formal

pleadings drafted by lawyers.’” Boykin v. KeyCorp, 521 F.3d 202, 214 (2d Cir. 2008) (quoting

Erickson v. Pardus, 551 U.S. 89, 94 (2007)). “‘[D]ismissal of a pro se claim as insufficiently

pleaded is appropriate only in the most unsustainable of cases.’” Fowlkes v. Ironworkers Local

40, 790 F.3d 378, 387 (2d Cir. 2015) (quoting Boykin, 521 F.3d at 216). “At the same time, a

pro se complaint must allege ‘enough facts to state a claim to relief that is plausible on its face.’”

Id. (quoting Twombly, 550 U.S. at 570).

       B. Law Governing Disciplinary Hearings Against Tenured Teachers in New York City

       The crux of Green’s complaint centers on the manner in which his arbitration was

initiated and conducted. In particular, Green argues that defendants violated his constitutional

and statutory rights by failing to follow the procedures set forth in N.Y. Educ. Law § 3020-a.

See, e.g., Compl. ¶¶ 11-17. N.Y. Educ. Law § 3020-a requires that all charges filed against a

tenured teacher be filed in writing with the clerk or secretary of that teacher’s school district or

employing board during the school year. Id. § 3020-a(1). The law requires that within five days


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of receipt of the charges, “the employing board, in executive session, shall determine, by a vote

of a majority of all members of such board, whether probable cause exists to bring a disciplinary

proceeding against an employee pursuant to this section.” Id. § 3020-a(2). An employee who

has charges filed against him or her is entitled to a hearing, absent narrow exceptions that do not

apply here. See id. § 3020-a(2)(d)-(e).

        The law also provides procedures for choosing an arbitrator to preside over a charged

teacher’s administrative hearing. N.Y. Educ. Law § 3020-a(3)(a) requires the state

commissioner of education, upon receipt of a request for a hearing, to “notify the American

Arbitration Association [“AAA”] . . . of the need for a hearing,” to request a list of names of

potential labor arbitrators from the AAA with relevant biographical information, and to send that

list to the employee and the employing board along with each potential hearing officer’s record

in the last five cases heard within a specified time period. The law provides that the hearing

officer shall be selected “by mutual agreement” of the employee and the employing board, and

that if they fail to come to an agreement within fifteen days, the commissioner shall appoint a

hearing officer from the list. Id. §§ 3020-a(3)(b)(ii)-(iii).

        Certain provisions of the Education Law, however, give additional flexibility to the

school district of the City of New York — that is, the DOE — or otherwise provide that the

procedures outlined in section 3020-a can be changed. N.Y. Educ. Law § 3020 provides that

“[n]o person enjoying the benefits of tenure shall be disciplined or removed during a term of

employment except for just cause and in accordance with the procedures specified in section

three thousand twenty-a of this article . . . or in accordance with alternative disciplinary

procedures contained in a collective bargaining agreement covering his or her terms and

conditions of employment that becomes effective on or after September first, nineteen hundred

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ninety-four,” provided that the alternative disciplinary procedure complies with certain

requirements not at issue here. N.Y. Educ. Law § 3020(1) (emphasis added). Additionally, N.Y.

Educ. Law § 3020-a provides that the provision regarding the choice of an arbitrator “shall not

apply in cities with a population of one million or more with alternative procedures specified in

section three thousand twenty of this article,” essentially creating a carve-out for New York City.

See N.Y. Educ. Law § 3020-a(3)(b)(iii). Consistent with these sections, and as alleged in

Green’s complaint, see Compl. ¶ 15, Section 21(G) of the relevant contract between the DOE

and the United Federation of Teachers (“UFT”), the union that represents New York City public

school teachers, provides alternate procedures for the selection of arbitrators to preside over

section 3020-a hearings. In particular, rather than allowing the employee and employing board

to select arbitrators from the AAA, the contract provides for a permanent arbitration panel whose

members are negotiated each year by the DOE and the UFT, or, if they cannot agree, in

accordance with the AAA’s procedures for choosing arbitrators, see id. Each arbitrator serves

for a maximum term of one year, and the parties must agree to have the arbitrators continue to

serve on the panel at the end of a term. Id.

       N.Y. Educ. Law § 2590-h outlines the powers of the chancellor of the school district of

the City of New York — that is, the duties of the chancellor of the DOE. N.Y. Educ. Law

§ 2590-h(38) gives the Chancellor the power “[t]o exercise all of the duties and responsibilities

of the employing board as set forth in section three thousand twenty-a of this chapter with

respect to any member of the teaching or supervisory staff of schools under the jurisdiction of

the community district education councils.” As noted, N.Y. Educ. Law § 3020-a(2) gives the

“employing board” the power to determine whether probable cause exists to bring disciplinary

charges against an employee following a vote of the majority of all of its members in executive

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session. N.Y. Educ. Law § 2590-h(19) provides that the Chancellor may “[d]elegate any of his

or her powers and duties to such subordinate officers or employees as he or she deems

appropriate and to modify or rescind any power and duty so delegated.” N.Y. Educ. Law

§ 2590-f(1)(b) further provides that in New York City, the superintendent shall have the power

“to delegate any of her or his powers and duties to such subordinate officers or employees of her

or his community district as she or he deems appropriate, at his or her sole discretion, and to

modify or rescind any power and duty so delegated.” Numerous state courts have interpreted

these sections of the law as giving the Chancellor the authority to delegate the process of

preferring charges against tenured teachers to the District Superintendent, who in turn may

delegate that authority to local school principals. See Pina-Pena v. New York City Dept. of

Educ., 2014 N.Y. Misc. LEXIS 1630, *10 (Sup. Ct. N.Y. Cty. Apr. 4, 2014) (collecting cases).

III. DISCUSSION

       Defendants argue that Green’s claims under the First, Fifth and Fourteenth Amendment,

and claims under the New York State Constitution and Education Law are barred under the

doctrine of collateral estoppel based on Green’s Article 75 proceeding. See Def. Mem. at 2, 5-7.

Defendants also argue that the claims under the First, Fifth, and Fourteenth Amendment and

claims for intentional and negligent infliction of emotional distress are barred by res judicata.

Id. at 2-3. Defendants further argue that Green’s claims under 42 U.S.C. § 1983 against the

Department of Education must be dismissed for failure to plead that the alleged constitutional

violations were the result of an official policy, practice, or custom, as required for municipal

liability to attach pursuant to Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658

(1978). Id. at 8-9. With respect to the claims against former Chancellor FarinÞa in her official

capacity, defendants argue those claims should be dismissed for failure to plead FarinÞa’s

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personal involvement in the alleged constitutional violations against Green. See id. at 9. With

respect to the claims brought against FarinÞa in her personal capacity, defendants argue that they

should be dismissed for being mere “labels and conclusions” without any factual basis. See id.

at 10. Finally, defendants argue that all claims must be dismissed on their merits for failure to

state a claim. See id. at 3. We discuss these arguments only to the extent necessary to dispose of

this motion.

       A. Collateral Estoppel and Res Judicata

               1. Governing Law

       “The full faith and credit clause of the Constitution of the United States requires a federal

court to give the same preclusive effect to a state court judgment as would be given in the state

in which it was rendered.” Davidson v. Capuano, 792 F.2d 275, 277-78 (2d Cir. 1986) (citing

Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S. 75, 81 (1984)); accord Burkybile v. Bd.

of Educ. of Hastings-On-Hudson Union Free Sch. Dist., 411 F.3d 306, 310 (2d Cir. 2005). The

law of preclusion can be divided into two categories: res judicata (claim preclusion) and

collateral estoppel (issue preclusion). See, e.g., Crosland v. City of New York, 140 F. Supp. 2d

300, 309 (S.D.N.Y. 2001), aff’d, F. App’x 504 (2d Cir. 2002). “Under the doctrine of res

judicata, ‘a final judgment on the merits of an action precludes the parties or their privies from

relitigating issues that were or could have been raised in that action.’” Jacobson v. Fireman’s

Fund Ins. Co., 111 F.3d 261, 265 (2d Cir. 1997) (quoting Burgos v. Hopkins, 14 F.3d 787, 789

(2d Cir. 1994)). “New York courts have adopted the ‘transactional approach’ to res judicata,

holding that if claims arise out of the same ‘factual grouping’ they are deemed to be part of the

same cause of action and the later claim will be barred without regard to whether it is based upon



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different legal theories or seeks different or additional relief.” Davidson, 792 F.2d at 278

(quoting Smith v. Russell Sage Coll., 54 N.Y.2d 185, 192-93 (1981)).

       “Collateral estoppel, or issue preclusion, is a doctrine related to, but distinct from, res

judicata.” Quadrozzi Concrete Corp. v. City of New York, 2004 WL 2222164, at *5 (S.D.N.Y.

Sept. 30, 2004) (citing Flaherty v. Lang, 199 F.3d 607, 613 (2d Cir. 1999)). Under New York

law, the doctrine of collateral estoppel applies only if “(1) the issue in question was actually and

necessarily decided in a prior proceeding, and (2) the party against whom the doctrine is asserted

had a full and fair opportunity to litigate the issue in the first proceeding.” Colon v. Coughlin,

58 F.3d 865, 869 (2d Cir. 1995) (citing cases). The doctrine of collateral estoppel applies in

instances where it is “quite clear” that these elements have been satisfied so that a party is not

“‘precluded from obtaining at least one full hearing on his or her claim.”’ Id. (quoting Gramatan

Home Investors Corp. v. Lopez, 46 N.Y.2d 481, 485 (1979)). “The party asserting issue

preclusion bears the burden of showing that the identical issue was previously decided, while the

party against whom the doctrine is asserted bears the burden of showing the absence of a full and

fair opportunity to litigate in the prior proceeding.” Id. (citing Kaufman v. Eli Lilly & Co., 65

N.Y.2d 449, 456 (1985)).

               2. Collateral Estoppel

       Defendants argue that a number of issues were “actually and necessarily considered and

decided” by the Article 75 decision. Def. Mem. at 6. We elect not to parse whether the Article

75 decision reached each of these issues because it is not clear that removing those issues

disposes of any particular federal claim and, for the reasons stated below, we find that all federal

claims should be dismissed without deciding any state law claims. Accordingly, we will assume

arguendo that none of Green’s claims are barred by the doctrine of collateral estoppel.

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               3. Res Judicata.

       Defendants argue that Green’s First, Fifth, and Fourteenth Amendment claims, and

claims for intentional and negligent infliction of emotional distress are barred by res judicata

because they “arise out of the same operative facts that formed the basis of the claims alleged in

her [sic] prior proceedings.” Id. at 2. That is, defendants argue that Green could have asserted

these claims in the Article 75 proceeding but failed to do so. Id. at 3. Defendants make no effort

to explain how the Article 75 court could have reached these claims, given that under Article 75,

“[g]rounds for vacating an award are narrowly circumscribed and include corruption, fraud or

misconduct, partiality of an arbitrator, or abuse of discretion.” Bottini v. Sadore Mgmt. Corp.,

764 F.2d 116, 121 (2d Cir. 1985). Indeed, the Second Circuit has declined to apply the res

judicata doctrine to bar to claims that were outside the scope of issues that can be raised in an

Article 75 proceeding. See Razzano v. Remsenburg-Speonk Union Free Sch. Dist., 751 F.

App’x 24, 27 (2d Cir. 2018); Bottini, 764 F.2d at 121. Thus, none of Green’s claims are barred

by res judicata.

       B. Green’s Federal Constitutional Claims

       Green brings his federal claims under 42 U.S.C. § 1983. See, e.g., Compl. ¶ 6. “To state

a claim under § 1983, a plaintiff must allege the violation of a right secured by the Constitution

and laws of the United States, and must show that the alleged deprivation was committed by a

person acting under color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988) (citations

omitted); see 42 U.S.C. § 1983. Section 1983 does not create any federal rights; rather, it

provides a mechanism to enforce rights established elsewhere. Gonzaga Univ. v. Doe, 536 U.S.

273, 285 (2002); accord Morris-Hayes v. Bd. of Educ. of Chester Union Free Sch. Dist., 423

F.3d 153, 159 (2d Cir. 2005) (citing City of Oklahoma City v. Tuttle, 471 U.S. 808, 816 (1985)).

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       We construe plaintiff’s complaint as alleging (1) a First Amendment retaliation claim,

see Compl. ¶ 35; (2) a Fourteenth Amendment procedural due process claim regarding the

manner in which his section 3020-a hearing was conducted, see id. ¶¶ 35, 48-52; (3) an Equal

Protection Claim under the Fourteenth Amendment based on the fact that teachers in New York

City are subject to different termination procedures than teachers in other parts of New York

State, see id. ¶ 44; and (4) a due process “stigma plus” claim based on Green’s claims of

reputational harm, see id. ¶¶ 10, 19.4

       Additionally, Green’s brief in opposition to defendant’s motion to dismiss asserts that (5)

he is Black and that defendants violated his Equal Protection rights by treating him differently

than similarly-situated white teachers, see Pl. Opp. at 10; and (6) his Equal Protection rights

were violated because he is part of a “class of one” that was the victim of selective enforcement

when charges were brought against him, see id. at 28-32. These latter claims do not appear in

the complaint. Nonetheless, in light of plaintiff’s pro se status, we will view the plaintiff’s brief

as supplementing the allegations of the complaint. See, e.g., Portillo v. Webb, 2017 WL

4570374, at *1 (S.D.N.Y. Oct. 11, 2017) (considering factual allegations from pro se plaintiff’s

opposition submissions when deciding motion to dismiss); London v. N.Y. State Dep’t of

Homeless Servs., 2014 WL 3720401, at *1 (S.D.N.Y. July 29, 2014) (same); accord Burgess v.

Goord, 1999 WL 33458, at *1 n.1 (S.D.N.Y. Jan. 26, 1999) (“In general, a court may not look

outside the pleadings when reviewing a Rule 12(b)(6) motion to dismiss. However, the mandate

to read the papers of pro se litigants generously makes it appropriate to consider plaintiff’s



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           Green also refers to a “Fourth Amendment” claim in his complaint. See, e.g., Compl.
¶¶ 6, 35. But he does not explain the facts underlying such a claim in the complaint or anywhere
in his briefing. Accordingly, we do not consider it further.

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additional materials, such as his opposition memorandum.”) (citations and internal quotation

marks omitted).

       With respect to these constitutional claims, for the reasons discussed below, we conclude

(1) that the complaint fails to state claims against DOE and FarinÞa in her official capacity

because the complaint does not allege municipal liability — with the possible exception of

Green’s procedural due process claim, his Equal Protection claim relating to the distinction

between teachers in New York City and those outside the City, and his “stigma-plus” claim; and

(2) that the complaint fails to state any claims against FarinÞa in her individual capacity because

the complaint does not plead her personal involvement in any of the alleged violations — with

the possible exception of the procedural due process claim and the Equal Protection claim

relating to the New York City/non-New York City distinction. As described further below, any

claims that may survive these municipal liability and “personal involvement” arguments

nonetheless fail on the merits. Thus, all federal claims must be dismissed.

               1. Liability of DOE and FarinÞa in Her Official Capacity for the Federal
                  Constitutional Violations

       Under Monell v. Department of Social Services, 436 U.S. 658 (1978), a municipality

may be treated as a “person[]” for the purpose of § 1983 claims “where . . . the action that is

alleged to be unconstitutional implements or executes a policy statement, ordinance, regulation,

or decision officially adopted and promulgated by [the municipality’s] officers.” Id. at 690;

accord Amnesty Am. v. Town of W. Hartford, 361 F.3d 113, 124-25 (2d Cir. 2004). To prevail

on a Monell claim, a plaintiff must show “(1) actions taken under color of law; (2) deprivation of

a constitutional or statutory right; (3) causation; (4) damages; and (5) that an official policy of

the municipality caused the constitutional injury.” Roe v. City of Waterbury, 542 F.3d 31, 36


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(2d Cir. 2008). Federal constitutional claims brought against the New York City Department of

Education are treated as claims against the City of New York. See, e.g., Kajoshaj v. New York

City Dep’t of Educ., 543 F. App’x 11, 16 (2d Cir. 2013); Segal v. City of New York, 459 F.3d

207, 219 (2d Cir. 2006). Similarly, federal constitutional claims against Carmen FarinÞa in her

official capacity are deemed to be claims against the City of New York. Kentucky v. Graham,

473 U.S. 159, 166 (1985) (“As long as the government entity receives notice and an opportunity

to respond, an official-capacity suit is, in all respects other than name, to be treated as a suit

against the entity [of which the officer is an agent].”)

        A municipality cannot be held liable on the basis of respondeat superior. Monell, 436

U.S. at 693-94; accord Roe, 542 F.3d at 36; Plair v. City of New York, 789 F. Supp. 2d 459, 468

(S.D.N.Y. 2011). Rather, the plaintiff must “demonstrate that, through its deliberate conduct, the

municipality was the ‘moving force’ behind the injury alleged.” Bd. of Cnty. Comm’rs v.

Brown, 520 U.S. 397, 404 (1997) (emphasis in orignal). Thus, “[p]roof of a single incident of

unconstitutional activity is not sufficient to impose liability under Monell, unless proof of the

incident includes proof that it was caused by an existing, unconstitutional municipal policy,

which policy can be attributed to a municipal policymaker.” Tuttle, 471 U.S. at 823-24; accord

Plair, 789 F. Supp. 2d at 470 (“[I]t is well established that a single incident does not give rise to

an unlawful practice by subordinate officials so permanent and well-settled as to constitute

custom or usage.”) (internal quotation marks and citation omitted) (citing cases).5


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            To establish the existence of a policy, the plaintiff must allege one of the following:

        (1) a formal policy which is officially endorsed by the municipality; (2) actions
        taken or decisions made by government officials responsible for establishing
        municipal policies which caused the alleged violation of the plaintiff’s civil
        rights; (3) a practice so persistent and widespread that it constitutes a “custom or

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       We accept that Green has alleged that there was a municipal custom or policy of using

the procedures to conduct the 3020-a hearing that he asserts violate procedural due process and

the Equal Protection clause. See Compl. ¶¶ 35, 44, 48-52. While less clear, we will assume

arguendo that he properly alleges there was a municipal policy of keeping a list of employees

who have been charged with infractions or who “spoke[] out about wrongdoing by

administrators,” the basis for his “stigma plus” claim. See Comp. ¶ 19 (first). Accordingly, we

address these claims on the merits below. As to all other federal claims, however, there are no

allegations of an unconstitutional City policy or practice. Instead, the allegations are that DOE

singled Green out for mistreatment. Accordingly, all claims against DOE and FarinÞa in her

official caapcity — other than the due process, Equal Protection (as to the New York City/non-

New York City distinction), and “stigma plus” claims — must be dismissed.

               2. Liability of FarinÞa in Her Individual Capacity for the Federal Constitutional
                  Violations

       We next turn to the claims against FarinÞa in her individual capacity.

       “It is well settled that, in order to establish a defendant’s individual liability in a suit

brought under § 1983, a plaintiff must show, inter alia, the defendant’s personal involvement in

the alleged constitutional deprivation.” Grullon v. City of New Haven, 720 F.3d 133, 138 (2d

Cir. 2013) (citations omitted); accord Back v. Hastings on Hudson Union Free Sch. Dist., 365

F.3d 107, 122 (2d Cir. 2004) (“[I]n this Circuit personal involvement of defendants in alleged


       usage” and implies the constructive knowledge of policy-making officials; or (4)
       a failure by official policy-makers to properly train or supervise subordinates to
       such an extent that it “amounts to deliberate indifference to the rights of those
       with whom municipal employees will come into contact.”

Jones v. Westchester Cnty. Dep’t of Corr. Med. Dep’t, 557 F. Supp. 2d 408, 417 (S.D.N.Y.
2008) (quoting and citing Moray v. City of Yonkers, 924 F. Supp. 8, 12 (S.D.N.Y. 1996)).

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constitutional deprivations is a prerequisite to an award of damages under § 1983.”) (citation and

internal quotation marks omitted); Magnotta v. Putnam Cty. Sheriff, 2014 WL 705281, at *7

(S.D.N.Y. Feb. 24, 2014). Here, nothing in the complaint or Green’s other submissions alleges

that FarinÞa was personally involved in any of the federal constitutional violations allegedly

suffered by Green — with the possible exception of the allegation that she was directly

responsible for mandating the allegedly unconstitutional procedures by which section 3020-a

hearings are conducted. See Compl. ¶¶ 5, 13, 28. In any event, we will assume arguendo that

such personal involvement has been alleged as to the procedural due process claim and the Equal

Protection Claim relating to the New York City/non-New York City distinction. All other

claims against FarinÞa in her individual capacity, however, should be dismissed on the basis of

lack of personal involvement.

               3. The Merits of Green’s Procedural Due Process, Equal Protection, and “Stigma
                  Plus” Claims

       As noted, we next address on the merits Green’s claims for (1) violations of procedural

due process, (2) violation of the Equal Protection clause as to the New York City/non-New York

City distinction, and (3) “stigma plus” reputational damage.

                       a. Procedural Due Process

       Green argues that his procedural due process rights were violated because charges against

him were brought by his principal rather than by a vote of the Executive Session of the school

board as contemplated in N.Y. Educ. Law § 3020-a. Compl. ¶ 28. We also construe the

complaint as arguing that Green was improperly prevented from participating in the selection of

the arbitrator for his 3020-a hearing. See id. ¶¶ 11, 13-17.




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       Under the Due Process Clause of the Fourteenth Amendment, before a tenured public

employee can be terminated, the “tenured public employee is entitled to oral or written notice of

the charges against him, an explanation of the employer’s evidence, and an opportunity to

present his side of the story.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 546 (1985);

accord Ingber v. New York City Dep’t of Educ., 2014 WL 6888777, at *4 (S.D.N.Y. Dec. 8,

2014). Here, Green’s complaint reflects that he was provided with written notice of the charges

being brought against him on April 22, 2016, see Comp. ¶ 19 (second), and that there was a

hearing in which he was able to hear the DOE’s evidence against him and present his own

arguments and evidence, see id. ¶¶ 21-24. This is all the process that Green was due under the

Fourteenth Amendment. See, e.g., Adams v. New York State Educ. Dep’t, 752 F. Supp. 2d 420,

457 (S.D.N.Y. 2010) (that tenured New York City teachers were not permitted to participate in

the selection of an arbitrator and that charges against them were not brought pursuant to vote of

the school board did not “affect whether a tenured teacher receives ‘oral or written notice of the

charges against him, an explanation of the employer’s evidence, and an opportunity to present

his side of the story,’ as due process requires”) (quoting Cleveland Bd. of Educ., 470 U.S. at 546,

547-48)), aff’d sub. nom, Ebewo v. Fairman, 460 F. App’x 67 (2d Cir. 2012); see also Ingber,

2014 WL 6888777, at *4 (no deprivation of due process rights where plaintiffs’ complaint

alleged that they received written notices and pre-termination hearings).

       Green relies heavily, in both his complaint and in his briefing, on the unpublished

decision in Cardinale v. New York City Dep’t of Educ., No. 85165/2017 (Sup. Ct. Richmond

Cty. Mar. 29, 2018) (annexed to Pl. Opp.) (“Cardinale”). In Cardinale, Richmond County

Supreme Court Judge Desmond Green granted the petitioner’s motion to vacate an arbitral award

that had been issued against her, pursuant to N.Y. Educ. Law § 3020-a, on the grounds that the

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award was in violation of strong public policy and was irrational on its face. Id. at 5-11. This

decision, however, is not controlling authority, and we find its reasoning unpersuasive.

Although Cardinale cites Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538 (1985), for

the proposition that due process is required before an individual can be deprived of his or her

property right in continued tenured employment, see Cardinale at 6, Cardinale ignores the

substance of that case’s holding which is that a tenured public employee is entitled only “to oral

or written notice of the charges against him, an explanation of the employer’s evidence, and an

opportunity to present his side of the story,” Cleveland Bd. of Educ., 470 U.S. at 546. Because

Green was afforded these procedures, his due process claims should be dismissed on the merits.

                       b. Equal Protection

       The Second Circuit has described the contours of an Equal Protection claim as follows.

       The Equal Protection Clause of the Fourteenth Amendment commands that no
       State shall “deny to any person within its jurisdiction the equal protection of the
       laws.” U.S. Const. amend XIV, § 1. This language has been interpreted to mean
       that “all persons similarly circumstanced shall be treated alike. But so too, the
       Constitution does not require things which are different in fact or opinion to be
       treated in law as though they were the same.” Plyler v. Doe, 457 U.S. 202, 216
       . . . (1982) (internal quotation marks, alteration, and citation omitted).

       Furthermore, we must grant substantial latitude to the legislatures “to establish
       classifications that roughly approximate the nature of the problem perceived, that
       accommodate competing concerns both public and private, and that account for
       limitations on the practical ability of the State to remedy every ill.” Id. Thus, the
       Supreme Court has held that — unless the legislature utilizes a classification that
       is inherently invidious because it disadvantages a suspect class, or because it
       infringes upon the exercise of a fundamental right — we exercise only a limited
       review power over the acts of legislatures . . . . Under this limited review power,
       we will uphold forms of state action under the Equal Protection Clause so long as
       the classification at issue bears some rational relationship to a legitimate state
       interest. Plyler, 457 U.S. at 216 . . . . On the other hand, where a suspect class or
       a fundamental right is at issue in the classification, we apply a more searching
       form of scrutiny. . . .



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       Thus, the threshold question for any analysis under the Equal Protection Clause is
       whether the highly deferential rational basis review applies, or instead whether
       the legislation involves a suspect class or a fundamental right resulting in the
       application of a stricter form of scrutiny. . . .

       When legislation is reviewed for a rational basis, “courts are quite reluctant to
       overturn governmental action on the ground that it denies equal protection of the
       laws.” Gregory v. Ashcroft, 501 U.S. 452, 470-71 . . . (1991) (internal quotation
       marks omitted). The Supreme Court has stated that courts should “not overturn
       such a [law] unless the varying treatment of different groups or persons is so
       unrelated to the achievement of any combination of legitimate purposes that we
       can only conclude that the legislature’s actions were irrational.” Vance v.
       Bradley, 440 U.S. 93, 97 . . . (1979).

Hayden v. Paterson, 594 F.3d 150, 169-70 (2d Cir. 2010).

       Green argues that defendants violated his Fourteenth Amendment Equal Protection rights

“[b]y setting up a charging process that secretly denies the procedures cited in Education Law

3020-a(2)(a) only in New York City and not elsewhere in New York State.” Compl. ¶ 44. In

other words, Green asserts that the distinction made by the statute between the procedural rights

afforded to teachers in New York City as opposed to teachers elsewhere in the state violates the

Equal Protection Clause.

       We reject this argument. First, New York City teachers do not represent a “suspect

class.” See, e.g., Massachusetts Bd. of Ret. v. Murgia, 427 U.S. 307, 313 (1976) (defining a

“suspect class” as one that has been “saddled with such disabilities, or subjected to such a history

of purposeful unequal treatment, or relegated to such a position of political powerlessness as to

command extraordinary protection from the majoritarian political process”). And while Green

does have a recognized property right in his tenured teaching position, see, e.g., Finley v.

Giacobbe, 79 F.3d 1285, 1297 (2d Cir. 1996); accord Meyers v. City of New York, 622

N.Y.S.2d 529, 532 (1995), it does not rise to the level of a “fundamental right,” see, e.g.,

Washington v. Glucksberg, 521 U.S. 702, 720 (1997) (defining fundamental rights as those

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liberties which are “objectively deeply rooted in this Nation’s history and traditions” and

“implicit in the concept of ordered liberty, such that neither liberty nor justice would exist if they

were sacrificed”) (internal quotation marks and citations omitted); see also Meyers v. Kishimoto,

217 F. Supp. 3d 563, 584 (D. Conn. 2016) (tenured teacher’s property rights in continued

employment did not rise to level of fundamental right); Grasson v. Bd. of Educ. of Town of

Orange, 24 F. Supp. 3d 136, 149 (D. Conn. 2014) (“interests related to employment are generally

not protected under substantive due process because they do not implicate fundamental rights,

such as the individual’s freedom of choice with respect to certain basic matters of procreation,

marriage, and family life”) (internal quotation marks and citation omitted). As a result, the

“rational basis” test applies.

        The Second Circuit has held that

        Where rational basis scrutiny applies, the Government “has no obligation to
        produce evidence,” or “‘empirical data’” to “sustain the rationality of a statutory
        classification,” Heller v. Doe, 509 U.S. 312, 320 . . . (1993) (quoting FCC v.
        Beach Commc’ns, Inc., 508 U.S. 307, 315 . . . (1993)), and instead can base its
        statutes on “rational speculation,” id. (internal quotation marks omitted). “‘[A]ny
        reasonably conceivable state of facts’” will suffice to satisfy rational basis
        scrutiny. Id. (quoting Beach Commc’ns, 508 U.S. at 313 . . . ). The burden falls
        to the party attacking the statute as unconstitutional to “negative every
        conceivable basis which might support it.” Madden v. Kentucky, 309 U.S. 83, 88
        . . . (1940). There need only be a “rational relationship between the disparity of
        treatment and some legitimate governmental purpose.” Heller, 509 U.S. at 320
        ...

Lewis v. Thompson, 252 F.3d 567, 582 (2d Cir. 2001). Here, Green has not “negative[d] every

conceivable basis” that could justify the distinction between teachers employed in New York

City and those employed elsewhere in the state. Madden, 309 U.S. at 88. Additionally, the City

has explained that “the DOE, a vast, complex structure managing hundreds of thousands of

teachers, staff, administrators, and students, dwarfs every other school district in the state.” Def.


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Mem. at 16. The identical justification was implicitly accepted by the Second Circuit in Ebewo

v. Fairman, 460 F. App’x 67 (2d Cir. 2012), which affirmed the decision of the district court in

Adams v. New York State Educ. Dept., 752 F. Supp. 2d 420, 460 (S.D.N.Y. 2010). We find the

reasoning of Adams to be persuasive and conclude that the distinction survives rational basis

review.

          Accordingly, Green’s Equal Protection claim should be dismissed.

                          c. Stigma-Plus

          We construe Green’s complaint as alleging that defendants subjected him to “stigma-

plus” discrimination by flagging his personnel files with a “no hire code” and by placing him on

a list called the “Problem Code” or “Ineligible Inquiry List.” See Compl. ¶¶ 1, 19 (first). Green

alleges that

          [t]here is no information on the procedures used, no standards for placement on this
          list, and no method by which a person so placed may remove his/her name from this
          list. Plaintiff’s name was placed on this list because of the actions of the Defendants
          to leave CTE students without proper resources and services.

Id. ¶ 19 (first). The complaint provides no further information on these lists or codes.

          Judge Koeltl in Kuczinski v. City of New York, 352 F. Supp. 3d 314 (S.D.N.Y. 2019),

succinctly summarized the law governing “stigma-plus” claims as follows:

          The loss of one’s reputation can violate the Due Process Clause if the loss of
          reputation is associated with the deprivation of a federally protected liberty
          interest, such as government employment. Bd. of Regents v. Roth, 408 U.S. 564,
          573 . . . (1972); Valmonte v. Bane, 18 F.3d 992, 999 (2d Cir. 1994). The loss of
          reputation without due process of law, in combination with the loss of a more
          tangible interest, is referred to as a “stigma plus” claim. The “stigma” within a
          stigma plus claim is the loss of reputation and the “plus” is the loss of a more
          tangible interest, such as employment. See Velez v. Levy, 401 F.3d 75, 87-88 (2d
          Cir. 2005); Spang v. Katonah-Lewisboro Union Free Sch. Dist., 626 F.Supp.2d
          389, 394-95 (S.D.N.Y. 2009). “Because stigma plus is a species within the
          phylum of procedural due process claims,” the plaintiff must demonstrate that his
          liberty interest was deprived without due process of law in addition to proving the

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       deprivation of a liberty interest. Segal v. City of New York, 459 F.3d 207, 213
       (2d Cir. 2006).

       “[T]he availability of adequate process defeats a stigma plus claim.” Id. This is
       often done through a name-clearing hearing. “[T]he hearing required where a
       nontenured employee has been stigmatized in the course of a decision to
       terminate his employment is solely to provide the person an opportunity to clear
       his name.” Codd v. Velger, 429 U.S. 624, 627 . . . (1997) (per curiam) (quotation
       marks omitted); Segal, 459 F.3d at 214 (in cases involving “at-will government
       employee[s], the availability of an adequate, reasonably prompt, post-termination
       name-clearing hearing is sufficient to defeat a stigma-plus claim”).

Kuczinski, 352 F. Supp. 3d at 324.

       Thus, to plead a “stigma plus” claim, a plaintiff must allege “(1) the utterance of a

statement about her that is injurious to her reputation, ‘that is capable of being proved false, and

that he or she claims is false,’ and (2) ‘some tangible and material state-imposed burden . . . in

addition to the stigmatizing statement.’” Velez, 401 F.3d at 87 (quoting Doe v. Dep’t of Pub.

Safety ex rel. Lee, 271 F.3d 38, 47 (2d Cir. 2001)). In addition, “[t]he defamatory statement

must be sufficiently public to create or threaten a stigma.” Id.

       Here, the allegations of the complaint do not show that any allegedly false statement

about Green was published to anyone outside of the DOE. Indeed, as far as can be determined

from the complaint, the lists and codes referred to are entirely internal to the DOE. The absence

of any claim that these lists and codes are communicated to potential employers is fatal to

Green’s “stigma plus” claim. See, e.g., McDonald v. Bd. of Educ. of City of New York, 2001

WL 840254, at *7 (S.D.N.Y. July 25, 2001) (dismissing stigma plus claim by teacher put on

New York City Board of Education “ Ineligible/Inquiry List” where plaintiff, inter alia, did not

“allege that the grounds for her dismissal were otherwise published to potential employers”);

see also Koehler v. New York City, 2005 WL 3502042, at *3 (S.D.N.Y. Dec. 20, 2005) (stigma-

plus claim failed where plaintiff alleged only that “her name was placed on an ineligible list so

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that she can not be employed anywhere else in the DOE”) (internal quotation marks omitted);

accord Ingber, 2014 WL 6888777, at *3. Accordingly, Green’s stigma plus claim must be

dismissed on the merits.

       C. Supplemental Jurisdiction Over State Law Claims

       Green’s complaint may possibly be construed as bringing separate claims, apart from the

Due Process and Equal Protection violations, for defendants’ alleged failure to comply with N.Y.

Educ. Law § 3020-a and N.Y. Civ. Serv. Law § 75-b(1)(b). See Compl. ¶¶ 46-53. The

complaint may also be construed as alleging a violation of Green’s procedural due process rights

under Article I, § 8 of the New York State Constitution. See Compl. ¶ 35. Additionally, the

complaint appears to allege state law claims for intentional and negligent infliction of emotional

distress, harassment, and tortious interference with contract. Id. ¶¶ 40-42.6 While we agree that

these claims would likely fail for the reasons stated in the defendants’ brief, see Def. Mem. at

17-22, the Court should decline to exercise supplemental jurisdiction over these claims.

       This Court has jurisdiction over Green’s federal claims pursuant to 28 U.S.C. § 1331.

However, the Court’s authority to hear Green’s state law claims is premised only on its

supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).7 Section 1367(a) provides that

       in any civil action of which the district courts have original jurisdiction, the
       district courts shall have supplemental jurisdiction over all other claims that are
       so related to claims in the action within such original jurisdiction that they form


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          In the heading for his “Second Cause of Action,” Green states that he is bringing
claims for “Intentional and Negligent Infliction of Emotional Distress, Verbal Harassment, With
Unjustified Threats of Future Harm; Section 767 of the Restatement (Second) of Contracts;
Stigma Plus.” See Compl. at 17.
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          There is no apparent other basis for jurisdiction over Green’s state law claims. The
diversity of citizenship requirement of 28 U.S.C. § 1332 is not met here because Green states
that he resides in New York. See Civil Cover Sheet, filed Nov. 19, 2018 (Docket # 2).

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       part of the same case or controversy under Article III of the United States
       Constitution.

28 U.S.C. § 1367(c) further provides that a district court may “decline to exercise supplemental

jurisdiction over a claim under subsection (a) if . . . the district court has dismissed all claims

over which it has original jurisdiction.”

       The Supreme Court has noted that

       in the usual case in which all federal-law claims are eliminated before trial, the balance
       of factors to be considered under the pendent jurisdiction doctrine — judicial economy,
       convenience, fairness, and comity — will point toward declining to exercise jurisdiction
       over the remaining state-law claims.

Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 n.7 (1988); accord Valencia ex rel. Franco

v. Lee, 316 F.3d 299, 305 (2d Cir. 2003). Given the early stage of this case, the court should

decline to exercise jurisdiction over Green’s remaining state law claims. See Valencia, 316 F.3d

at 306-07 (noting that because of the “relatively early stage of the case,” there were “judicial

economies to be achieved by declining to exercise supplemental jurisdiction” over state law

claims that remained after the dismissal of all federal law claims).

IV. CONCLUSION

       For the foregoing reasons, defendants’ motion to dismiss (Docket # 14) should be granted

with leave to amend within 30 days in the event that Green can cure any of the defects in the

existing complaint. See, e.g., Hayden v. Cnty. of Nassau, 180 F.3d 42, 53 (2d Cir. 1999)

(“When a motion to dismiss is granted, the usual practice is to grant leave to amend the

complaint.”) (citation omitted).




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                       PROCEDURE FOR FILING OBJECTIONS TO THIS
                           REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b)(l) and Rule 72(b) of the Federal Rules of Civil

Procedure, the parties have fourteen (14) days (including weekends and holidays) from service

of this Report and Recommendation to file any objections. See also Fed. R. Civ. P. 6(a), (b), (d).

A party may respond to any objections within 14 days after being served. Any objections and

responses shall be filed with the Clerk of the Court, with copies sent to the Hon. Analisa Torres

at 500 Pearl Street, New York, New York 10007. Any request for an extension of time to file

objections or responses must be directed to Judge Torres. If a party fails to file timely

objections, that party will not be permitted to raise any objections to this Report and

Recommendation on appeal. See 28 U.S.C. § 636(b)(l); Fed. R. Civ. P. 72; Fed. R. Civ. P. 6(a),

6(b), 6(d); Thomas v. Arn, 474 U.S. 140 (1985); Wagner & Wagner, LLP v. Atkinson, Haskins,

Nellis, Brittingham, Gladd & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010).

Dated: July 31, 2019

       New York, New York




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